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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
             v.                             )   CASE NO. 5:01-CR-18 (MTT)
                                            )
GLEN SPEARING MATTHEWS,                     )
                                            )
                Defendant.                  )
 __________________                         )


                                        ORDER

      Federal prisoner Glen Spearing Matthews, proceeding pro se, has filed a motion

for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). Doc. 273. For

Matthews to succeed, the Court must find that an “extraordinary and compelling” reason

warranting a sentence reduction is present. 18 U.S.C. § 3582(c)(1)(A). Only four

circumstances qualify as extraordinary and compelling reasons as defined by the

applicable policy statement. United States v. Bryant, 996 F.3d 1243, 1247 (11th Cir.

2021); U.S.S.G. § 1B1.13. One of these circumstances is if the prisoner is 65 years old,

is experiencing a serious deterioration in physical or mental health because of the aging

process, and has served 10 years or 75 percent of his or her term of imprisonment,

whichever is less. § 1B1.13 cmt. n.1(B).

      Matthews, who is currently scheduled to be released from prison in 2063 when

he is 105 years old, has served well over 10 years of his 840-month sentence and will

turn 65 on October 31, 2022. Doc. 273-2; Federal Bureau of Prisons,

https://www.bop.gov/inmateloc/ (last visited July 7, 2022). Matthews also arguably is

experiencing a serious physical deterioration because of the aging process; he has

been diagnosed with hypertension, obesity, and Type II Diabetes. Doc. 273-2 at 2-10.
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         Because it appears that Matthews could soon qualify for compassionate release,

the Government is ORDERED to respond to Matthews’s motion (Doc. 273) by

September 6, 2022. The Government’s response shall discuss whether Matthews’s

circumstances qualify as an extraordinary and compelling reason warranting a sentence

reduction and whether the sentencing factors found at 18 U.S.C. § 3553(a) weigh in his

favor.

         SO ORDERED, this 8th day of July, 2022.

                                                S/ Marc T. Treadwell
                                                MARC T. TREADWELL, CHIEF JUDGE
                                                UNITED STATES DISTRICT COURT




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